         Case 2:10-cv-03108-EFS             ECF No. 1   filed 11/15/10   PageID.1 Page 1 of 5



 1   Jon N. Robbins
 2   WEISBERG & MEYERS, LLC
     3877 N. Deer Lake Rd.
 3
     Loon Lake,WA 99148
 4   509-232-1882
 5
     866-565-1327 facsimile
     jrobbins@AttorneysForConsumers.com
 6   Attorney for Plaintiff
 7

 8                           UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF WASHINGTON
10
     JOY SUITER,                   )                    Case No.   CV-10-3108-EFS
11                                 )
12
     Plaintiff,                    )                    COMPLAINT FOR VIOLATION
                                   )                    OF   FEDERAL   FAIR   DEBT
13          vs.                    )                    COLLECTION PRACTICES ACT
14                                 )
     J. A. CAMBECE LAW OFFICE, PC, )
15
                                   )
16   Defendant.                    )
                                   )
17

18                                     NATURE OF ACTION
19
            1.      This is an action brought under the Fair Debt Collection Practices
20

21   Act (“FDCPA”), 15 U.S.C. § 1692 et seq.
22
                                  JURISDICTION AND VENUE
23

24
            2.      This Court has jurisdiction under 15 U.S.C. § 1692k(d) and 28

25   U.S.C. § 1331.
26
            3.      Venue is proper before this Court pursuant to 28 U.S.C. §1391(b),
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-1                                     WEISBERG & MEYERS, LLC
                                                                         3877 N. Deer Lake Rd.
                                                                         Loon Lake ,WA 99148
                                                                         509-232-1882
                                                                         866-565-1327 facsimile
                                                                         jrobbins@AttorneysForConsumers.com
         Case 2:10-cv-03108-EFS             ECF No. 1   filed 11/15/10   PageID.2 Page 2 of 5



 1   where the acts and transactions giving rise to Plaintiff’s action occurred in this
 2
     district, (where Plaintiff resides in this district), and/or where Defendant transacts
 3

 4   business in this district.
 5
                                                PARTIES
 6

 7          4.      Plaintiff, Joy Suiter (“Plaintiff”), is a natural person who at all
 8
     relevant times resided in the State of Washington, County of Yakima, and City of
 9
     Yakima.
10

11          5.      Plaintiff is a “consumer” as defined by 15 U.S.C. § 1692a(3).
12
            6.      Defendant, J. A. Cambece Law Office, PC (“Defendant”) is an entity
13

14   who at all relevant times was engaged, by use of the mails and telephone, in the
15
     business of attempting to collect a “debt” from Plaintiff, as defined by 15 U.S.C.
16

17
     §1692a(5).

18          7.      Defendant is a “debt collector” as defined by 15 U.S.C. § 1692a(6).
19
                                    FACTUAL ALLEGATIONS
20

21          8.      Plaintiff is a natural person obligated, or allegedly obligated, to pay a
22
     debt owed or due, or asserted to be owed or due a creditor other than Defendant.
23

24          9.      Plaintiff's obligation, or alleged obligation, owed or due, or asserted
25
     to be owed or due a creditor other than Defendant, arises from a transaction in
26
     which the money, property, insurance, or services that are the subject of the
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-2                                     WEISBERG & MEYERS, LLC
                                                                         3877 N. Deer Lake Rd.
                                                                         Loon Lake ,WA 99148
                                                                         509-232-1882
                                                                         866-565-1327 facsimile
                                                                         jrobbins@AttorneysForConsumers.com
         Case 2:10-cv-03108-EFS             ECF No. 1   filed 11/15/10   PageID.3 Page 3 of 5



 1   transaction were incurred primarily for personal, family, or household purposes.
 2
     Plaintiff incurred the obligation, or alleged obligation, owed or due, or asserted to
 3

 4   be owed or due a creditor other than Defendant.
 5
            10.     Defendant uses instrumentalities of interstate commerce or the mails
 6

 7   in a business the principal purpose of which is the collection of any debts, and/or
 8
     regularly collects or attempts to collect, directly or indirectly, debts owed or due,
 9
     or asserted to be owed or due another.
10

11          11.     Defendant failed to provide Plaintiff with the notices required by 15
12
     USC § 1692g, either in the initial communication with Plaintiff, or in writing
13

14   within 5 days thereof.
15
            12.     Plaintiff has never received anything in writing from the Defendant.
16

17
            13.     Moreover, Defendant did not verbally notify Plaintiff of her right to

18   dispute the debt and other rights pursuant to 1692g in their first communication or
19
     within 5 days thereafter. (§ 1692g(a)).
20

21          14.     Defendant overshadowed the disclosures required by 15 USC §
22
     1692g(a) during the thirty-day dispute period, including demanding immediate
23

24   payment of the debt in the initial communication with Plaintiff without also
25
     notifying Plaintiff of her right to dispute the debt.
26
            15.     During the initial communication/phone call between Plaintiff and
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-3                                     WEISBERG & MEYERS, LLC
                                                                         3877 N. Deer Lake Rd.
                                                                         Loon Lake ,WA 99148
                                                                         509-232-1882
                                                                         866-565-1327 facsimile
                                                                         jrobbins@AttorneysForConsumers.com
         Case 2:10-cv-03108-EFS             ECF No. 1   filed 11/15/10   PageID.4 Page 4 of 5



 1   Defendant, Defendant demanded immediate payment of the debt and repeatedly
 2
     stated to Plaintiff “what are we going to do today to take care of this debt?”(§
 3

 4   1692g(b)).
 5
            16.     Defendant failed to notify Plaintiff during each collection contact
 6

 7   that the communication was from a debt collector.
 8
            17.     On at least one occasion, defendant left the following message on
 9
     Plaintiff’s voice mail: “This phone call is for Joy Suiter, this is Robert Kimberg
10

11   from the Cambece Law Firm, please call me back at 1-866-261-4935. If this is
12
     not Joy Suiter, please disregard this call.”
13

14          18.     At no time during this message did Defendant disclose the fact that
15
     the communication was from a debt collector. (§ 1692e(11)).
16

17
            19.     Defendant’s actions constitute conduct highly offensive to a

18   reasonable person.
19
                                                COUNT I
20

21          20.     Plaintiff repeats and re-alleges each and every allegation contained
22
     above.
23

24          21.     Defendant violated the FDCPA as detailed above.
25
            WHEREFORE, Plaintiff prays for relief and judgment, as follows:
26
                  a) Adjudging that Defendant violated the FDCPA;
27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-4                                     WEISBERG & MEYERS, LLC
                                                                         3877 N. Deer Lake Rd.
                                                                         Loon Lake ,WA 99148
                                                                         509-232-1882
                                                                         866-565-1327 facsimile
                                                                         jrobbins@AttorneysForConsumers.com
         Case 2:10-cv-03108-EFS             ECF No. 1   filed 11/15/10   PageID.5 Page 5 of 5



 1              b) Awarding Plaintiff statutory damages, pursuant to 15 U.S.C. §1692k,
 2
                    in the amount of $1,000.00;
 3

 4              c) Awarding Plaintiff actual damages, pursuant to 15 U.S.C. §1692k;
 5
                d) Awarding Plaintiff reasonable attorneys’ fees ands costs incurred in
 6

 7                  this action;
 8
                e) Awarding Plaintiff any pre-judgment and post-judgment interest as
 9
                    may be allowed under the law;
10

11              f) Awarding such other and further relief as the Court may deem just
12
                    and proper.
13

14                                          TRIAL BY JURY
15
                            Plaintiff is entitled to and hereby demands a trial by jury.
16

17                  Respectfully submitted this 15th day of November, 2010.
18

19

20                                                 s/Jon N. Robbins
                                                   Jon N. Robbins
21
                                                   WEISBERG & MEYERS, LLC
22                                                 Attorney for Plaintiff
23

24

25

26

27

     COMPLAINT FOR VIOLATIONS OF THE FAIR
28
     DEBT COLLECTION PRACTICES ACT-5                                     WEISBERG & MEYERS, LLC
                                                                         3877 N. Deer Lake Rd.
                                                                         Loon Lake ,WA 99148
                                                                         509-232-1882
                                                                         866-565-1327 facsimile
                                                                         jrobbins@AttorneysForConsumers.com
